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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                        1/12/2022


In re:
                                                                       03-MD-1570 (GBD) (SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                    ORDER

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SARAH NETBURN, United States Magistrate Judge:

         The Court has received Vermail V. Noel’s letter, dated January 6, 2022, stating that she

has been unable to find a lawyer to assist her and requests to be added to this multidistrict

litigation (MDL). That request must be denied. “[C]ases consolidated for MDL pretrial

proceedings ordinarily retain their separate identities.” Gelboim v. Bank of Am. Corp., 574 U.S.

405, 406 (2015). Thus, it is not possible to “join” In Re Terrorist Attacks on September 11, 2001,

03-md-1570, as a plaintiff. Rather, a plaintiff must start a case, which is then consolidated into

this MDL, or an existing plaintiff may permit a new plaintiff to be added to an existing case.

Therefore, even under the liberal construction this Court must afford pro se filings like this one,

Estelle v. Gamble, 429 U.S. 97, 106 (1976), it is not possible to grant Ms. Noel the relief she

seeks. If Ms. Noel wishes to file a lawsuit related to the September 11 terrorist attacks without

the assistance of counsel (i.e., pro se) then the Court directs her to the resources this District

provides for pro se litigants at https://www.nysd.uscourts.gov/prose.

         The Court respectfully directs the Clerk of the Court to mail a copy of this Order to Ms.

Noel at 6 Connell Circle, Newark, DE 19711.

SO ORDERED.


DATED:           New York, New York
                 January 12, 2022
